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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. MJ 09-499
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )             DETENTION ORDER
                                          )
11   THOMAS LAMONT STEED,                 )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Possession of Cocaine with Intent to Distribute

15 Date of Detention Hearing:      October 6, 2009

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Defendant has been charged with a drug offense the maximum penalty of which

22 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both


     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01 dangerousness and flight risk, under 18 U.S.C. §3142(e).

02          2.     Defendant does not have a stable residence history, and is not employed. He has

03 been living in Alaska for the last year. There is not an acceptable release plan.

04          3.     The defendant has a significant marijuana habit, and a history of probation

05 revocation. He is associated with one alias name and two dates of birth.

06          4.     Taken as a whole, the record does not effectively rebut the presumption that no

07 condition or combination of conditions will reasonably assure the appearance of the defendant

08 as required and the safety of the community.

09 It is therefore ORDERED:

10          (1)    Defendant shall be detained pending trial and committed to the custody of the

11                 Attorney General for confinement in a correction facility separate, to the extent

12                 practicable, from persons awaiting or serving sentences or being held in custody

13                 pending appeal;

14          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

15                 counsel;

16          (3)    On order of a court of the United States or on request of an attorney for the

17                 Government, the person in charge of the corrections facility in which defendant

18                 is confined shall deliver the defendant to a United States Marshal for the purpose

19                 of an appearance in connection with a court proceeding; and

20          (4)    The clerk shall direct copies of this Order to counsel for the United States, to

21                 counsel for the defendant, to the United States Marshal, and to the United States

22                 Pretrial Services Officer.


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01         DATED this 6th day of October, 2009.



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03                                           Mary Alice Theiler
                                             United States Magistrate Judge
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     DETENTION ORDER                                                                 15.13
     18 U.S.C. § 3142(i)                                                          Rev. 1/91
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